          Case 1:18-cr-00024-DLF Document 24 Filed 09/26/18 Page 1 of 4



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

        v.
                                                       Criminal No. 1:18-cr-24 (DLF)
    RICHARD PINEDO,

                   Defendant.

                  GOVERNMENT’S SENTENCING MEMORANDUM

        The government submits this memorandum in connection with the sentencing of Richard

Pinedo scheduled for October 10, 2018. Mr. Pinedo pleaded guilty on February 12, 2018 to one

count of identify fraud, in violation of 18 U.S.C. §§ 1028(a)(7), (b)(1)(D), and (c)(3)(A). 1 As an

initial matter, the government agrees with the United States Probation Office that Mr. Pinedo’s

sentencing guidelines are properly calculated at a Total Offense Level of 13, Criminal History

Category I, with a recommended guideline range of 12–18 months of incarceration. 2 The



1
 Title 18, United States Code, Section 1028(a)(7) provides: “Whoever, in a circumstance described
in section (c) of this section . . . (7) knowingly transfers, possesses, or uses, without lawful
authority, a means of identification of another person with the intent to commit, or to aid or abet,
or in connection with, any unlawful activity that constitutes a violation of Federal law, or that
constitutes a felony under any applicable State or local law . . . shall be punished as provided in
subsection (b) of this section.” Section (b)(1)(D) provides: “The punishment for an offense under
subsection (a) of this section is — (1) except as provided in paragraphs (3) and (4), a fine under
this title or imprisonment for not more than 15 years, or both, if the offense is . . . (D) an offense
under paragraph (7) of such subsection that involves the transfer, possession, or use of 1 or more
means of identification if, as a result of the offense, any individual committing the offense obtains
anything of value aggregating $1,000 or more during any 1-year period[.]” Section (c)(3)(A)
provides: “The circumstance referred to in subsection (a) of this section is that . . . (3) either
— (A) the production, transfer, possession, or use prohibited by this section is in or affects
interstate or foreign commerce, including the transfer of a document by electronic means[.]”
2
  Section 2B1.1(a)(2) of the sentencing guidelines established a base offense level of six.
Mr. Pinedo’s offense level must be increased by six levels because the offense caused a loss
between $40,000 and $95,000, pursuant to § 2B1.1(b)(1)(D); by two more levels because a
substantial part of the fraudulent scheme was committed from outside the United States, pursuant
to § 2B1.1(b)(10); and by another two levels because the offense involved trafficking of


                                             Page 1 of 4
          Case 1:18-cr-00024-DLF Document 24 Filed 09/26/18 Page 2 of 4



applicable guideline range is in Zone C of the Sentencing Table, under which the guidelines

recommend either imprisonment or a sentence of imprisonment that includes a term of supervised

release with a condition that substitutes community confinement or home detention, provided that

at least one-half of the minimum term specified in the guideline range be satisfied by

imprisonment. U.S.S.G. § 5C1.1(d). The government does not take a position with respect to a

particular sentence to be imposed. Instead, the government sets forth its view of the nature of the

offense and offender. See 18 U.S.C. § 3553(a).

       Congress, in criminalizing identity theft, characterized the offense as “a critically important

crime.” 144 Cong. Rec. H9993-01, H9996. The provision violated by Mr. Pinedo, subsection

(a)(7), was added to 18 U.S.C. § 1028 as part of the Identity Theft and Assumption Deterrence Act

of 1998. Pub. L. No. 105-318, 112 Stat. 3007. The legislative history reflects that lawmakers

recognized the “thousands of Americans victimized by this conduct every day” as well as the “far-

ranging emotional and personal financial damage [wreaked] on its victims.” Id. at H9995. One

legislator noted the following: “[W]ith the growth of information that can be found on the Internet,

identity thieves don’t need an actual document. They can go on-line and find or purchase . . . the

key pieces of information to unlocking the door to your personal financial history.” Id. at H9997.

The offense committed by Mr. Pinedo encapsulates these concerns: identity fraud on a large scale,

committed remotely through the ease of the internet, with real-life damage inflicted on scores of

innocent victims.




unauthorized access devices, the unauthorized transfer or use of any means of identification
unlawfully to produce or obtain any other means of identification, and the possession of five or
more means of identification that unlawfully were obtained by the use of another means of
identification, pursuant to § 2B1.1(b)(11).


                                            Page 2 of 4
          Case 1:18-cr-00024-DLF Document 24 Filed 09/26/18 Page 3 of 4



       For more than three years, beginning in 2014 and continuing through December 2017,

Mr. Pinedo sold hundreds of real persons’ bank account numbers to anonymous customers on the

internet. Statement of Offense (“SOF”), ECF No. 13 at ¶¶ 1, 6. He intended to help his customers

circumvent the security protocols of a large digital payment company. Id. at ¶¶ 1, 3–4. In doing so,

however, Mr. Pinedo victimized not only the company and the individuals whose bank account

numbers he sold, but he recklessly enabled other criminal activity that may have otherwise been

prevented.

       Mr. Pinedo sold hundreds of bank account numbers belonging to real people, and he did so

for personal financial gain. SOF at ¶¶ 2, 6. He obtained the bank account numbers by purchasing

accounts in the names of real people over the internet. Id. at ¶ 2. Though Mr. Pinedo did not

personally steal the victims’ bank account numbers in the first instance, id., he contributed to the

demand for stolen identities on the black market. That he sold his own bank account numbers early

on should serve as no mitigation, id., because the damage he caused to his own credit and

reputation he then inflicted on scores of victims. And he did so purely for personal financial gain.

Mr. Pinedo collected tens of thousands of dollars, somewhere between $40,000 and $95,000,

through the sale of these bank account numbers. Id. at ¶ 6.

       Moreover, in helping his customers circumvent the security protocols of a digital payments

company, Mr. Pinedo recklessly disregarded fraudulent activity committed by his customers.

These security protocols were designed to deter fraud, reduce theft, and generally protect the

integrity and reliability of financial networks. By providing stolen bank account numbers to his

customers, some of whom had been banned from the network, Mr. Pinedo helped them to

anonymously access a financial network that allowed them to transact with U.S. persons and

companies. SOF at ¶¶ 3–4.




                                            Page 3 of 4
          Case 1:18-cr-00024-DLF Document 24 Filed 09/26/18 Page 4 of 4



       At the same time, the government recognizes that since being confronted by law

enforcement, Mr. Pinedo readily admitted his own misconduct and provided significant assistance

to the government in its own investigation of the facts surrounding the identity theft. For example,

at the government’s request, Mr. Pinedo promptly flew to the District of Columbia, answered

questions posed by the government, and acknowledged his criminal conduct. He explained how

he obtained the account numbers later sold for profit and provided the government with access to

records identifying buyers of the accounts. Mr. Pinedo’s prompt acceptance of responsibility saved

the government significant time and resources in the investigation.



Dated: September 26, 2018
                                              Respectfully submitted,

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                                            Page 4 of 4
